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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  NEETA THAKUR, et al.,                              Case No. 25-cv-04737-RFL
                 Plaintiffs,
                                                     DISCOVERY ORDER
          v.
                                                     Re: Dkt. No. 31
  DONALD J. TRUMP, et al.,
                 Defendants.



       Having considered the Parties’ positions in their Joint Statement Regarding Initial

Expedited Discovery (Dkt. No. 31), the Court finds good cause to order limited expedited

discovery in this case. See Semitool, Inc. v. Tokyo Electron America, Inc., 208 F.R.D. 273, 276

(N.D. Cal. 2002) (“Good cause may be found where the need for expedited discovery, in

consideration of the administration of justice, outweighs the prejudice to the responding party.”).

       Plaintiffs’ motions for preliminary injunctive relief and provisional class certification are
being heard on an emergency basis, making limited expedited discovery appropriate. Most of

the discovery that Plaintiffs have proposed would likely be part of any administrative record that

Defendants will be required to produce anyway if the case proceeds. Moreover, to the extent that

the proposed discovery seeks information that will be outside of the administrative record, that

information is relevant to Plaintiffs’ constitutional claims, including their First Amendment

claim, and is also pertinent to class certification. The proposed discovery about the agency

decision-making process and exemplar termination letters bears on commonality, as well as

whether the putative class representatives are typical and adequate to represent the proposed
class. The number of terminated grants bears on numerosity and ascertainability.


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       On the flip side, Defendants have not shown that prejudice will result from the requested

limited expedited discovery. Defendants recognize that the burden of production is minimal and

that the requested documents can feasibly be produced in less than a week. And, unlike in U.S

Doge Serv. v. CREW, --- S. Ct. ---, 2025 WL 1602338 (U.S. June 6, 2025), Plaintiffs in this case

have not requested the contents of sensitive or confidential executive branch communications.

See id. at *1 (staying discovery order to produce “the content of intra–Executive Branch USDS

recommendations”). Nor have Defendants submitted any basis to be concerned that the

requested materials would impinge on executive privilege or deliberative process privilege.

       Therefore, pursuant to the Parties’ joint proposal, Defendants are ORDERED to produce,

by noon on June 17, 2025:

           1. For the EPA, NEH, NSF, and FDA, non-privileged documents or declarations1

              sufficient to show:

                  a. The policy for selecting grants for termination at the four agencies;

                  b. The overarching Executive Order(s) or directive(s) animating the

                      termination policy at each of the four agencies;

                  c. The way in which the policy or overarching priority was communicated to

                      each agency and by whom; and

                  d. The way in which the termination policy was implemented at each agency
                      (e.g., keyword searches, AI tools, etc.).

           2. A summary document or filing providing an estimate of the number of grants

              issued to the University of California Regents or specific UC campuses that were

              terminated between January 20, 2025 and the present.

           3. Exemplar grant termination letters from at least five Agency Defendants other

              than the EPA, NEH, NSF, and FDA.

       Additionally, Plaintiffs and Defendants are each permitted to file one supplemental brief

1
 Declarations should not substitute for otherwise readily available, non-privileged documents
pertaining to the topics listed in this section.


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addressing any arguments they could not have made absent the expedited discovery by noon on

June 19, 2025. The supplemental briefs are not to exceed 10 pages, and may attach any pertinent

evidence for consideration.



       IT IS SO ORDERED.

Dated: June 12, 2025




                                                          RITA F. LIN
                                                          United States District Judge




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